                       UNITED STATES DISTRICT COURT

                        NORTHERN DISTRICT OF TEXAS

                               DALLAS DIVISION


In re KOSMOS ENERGY LTD SECURITIES § Consolidated Civil Action No. 3:12-cv-373-B
LITIGATION                         §
                                   § CLASS ACTION
                                   §
This Document Relates To:          §
                                   §
       ALL ACTIONS.                §
                                   §




   PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF JOINT MOTION FOR
      FINAL APPROVAL OF CLASS ACTION SETTLEMENT AND PLAN OF
                ALLOCATION OF SETTLEMENT PROCEEDS




950503_2.
                                                    TABLE OF CONTENTS

                                                                                                                                         Page

I.          INTRODUCTION ...............................................................................................................1

II.         BACKGROUND AND SUMMARY OF THE LITIGATION ...........................................2

III.        STANDARDS FOR FINAL APPROVAL OF CLASS ACTION SETTLEMENT ...........5

IV.         THE COURT SHOULD GRANT FINAL APPROVAL OF THE SETTLEMENT ...........5

            A.        The Settlement Was Obtained Without Fraud or Collusion ....................................6

            B.        The Complexity, Expense and Likely Duration of the Litigation Support
                      Final Approval of the Settlement .............................................................................7

            C.        The Stage of the Litigation Supports Approval of the Settlement ...........................9

            D.        The Probability of Plaintiffs’ Prevailing on the Merits Supports Final
                      Approval ................................................................................................................10

            E.        The Range of Possible Recovery and Certainty of Damages Supports Final
                      Approval ................................................................................................................13

            F.        The Opinions of Lead Counsel and Plaintiffs Support Final Approval .................14

V.          THE PLAN FOR ALLOCATING THE SETTLEMENT PROCEEDS IS FAIR,
            REASONABLE AND ADEQUATE .................................................................................15

VI.         CONCLUSION ..................................................................................................................17




                                                                     -i-
950503_2.
CASES

Cotton v. Hinton,
   559 F.2d 1326 (5th Cir. 1977) .........................................................................................5, 7, 14

Fla. Trailer & Equip. Co. v. Deal,
   284 F.2d 567 (5th Cir. 1960) .....................................................................................................8

In re Apollo Grp., Inc. Sec. Litig.,
    No. 08-16971, 2010 U.S. App. LEXIS 14478
    (9th Cir. June 23, 2010) ...........................................................................................................12

In re Apollo Grp., Inc. Sec. Litig.,
    No. CV 04-2147-PHX-JAT, 2008 U.S. Dist. LEXIS 61995
    (D. Ariz. Aug. 4, 2008) ............................................................................................................12

In re BankAtlantic Bancorp, Inc. Sec. Litig.,
    No. 07-61542-CIV-UNGARO, 2011 U.S. Dist. LEXIS 48057
    (S.D. Fla. Apr. 25, 2011),
    aff’d sub nom. Hubbard v. BankAtlantic Bancorp, Inc.,
    688 F.3d 713 (11th Cir. 2012) .................................................................................................12

In re Dell Inc., Sec. Litig.,
    No. A-06-CA-726-SS, 2010 U.S. Dist. LEXIS 58281
    (W.D. Tex. June 11, 2010),
    aff’d sub nom. Union Asset Mgmt. Holding A.G. v. Dell Inc.,
    669 F.3d 632 (5th Cir.), cert. denied, ___ U.S. ___,
    133 S. Ct. 317 (2012) .........................................................................................................15, 16

In re Enron Corp. Sec.,
    228 F.R.D. 541 (S.D. Tex. 2005) .............................................................................................13

In re OCA, Inc.,
    No. 05-2165, 2008 U.S. Dist. LEXIS 84869
    (E.D. La. Oct. 17, 2008).............................................................................................7, 9, 11, 14

In re OCA, Inc. Sec. & Derivative Litig.,
    No. 05-2165 SECTION R(3), 2009 U.S. Dist. LEXIS 19210
    (E.D. La. Mar. 2, 2009) ..............................................................................................................9

In re PaineWebber Ltd. P’ships Litig.,
    171 F.R.D. 104 (S.D.N.Y. 1997),
    aff’d, 117 F.3d 721 (2d Cir. 1997) .............................................................................................5

Klein v. O’Neal, Inc.,
   705 F. Supp. 2d 632 (N.D. Tex. 2010) ....................................................................................14

Maher v. Zapata Corp.,
  714 F.2d 436 (5th Cir. 1983) ...................................................................................................13
                                                                  - ii -
950503_2.
                                                                                                                                   Page


McNamara v. Bre-X Minerals Ltd.,
  214 F.R.D. 424 (E.D. Tex. 2002)...............................................................................................7

McNeely v. Nat’l Mobile Health Care, LLC,
  No. CIV-07-933-M, 2008 U.S. Dist. LEXIS 86741
  (W.D. Okla. Oct. 27, 2008)........................................................................................................9

Miller v. Republic Nat’l Life Ins. Co.,
   559 F.2d 426 (5th Cir. 1977) .....................................................................................................5

Newby v. Enron Corp.,
   394 F.3d 296 (5th Cir. 2004) .............................................................................................5, 6, 7

Parker v. Anderson,
   667 F.2d 1204 (5th Cir. 1982) .................................................................................................13

Pettway v. Am. Cast Iron Pipe Co.,
    576 F.2d 1157 (5th Cir. 1978) .............................................................................................6, 14

Reed v. Gen. Motors Corp.,
   703 F.2d 170 (5th Cir. 1983) .....................................................................................................6

Salinas v. Roadway Express, Inc.,
    802 F.2d 787 (5th Cir. 1986) ...................................................................................................12

Schwartz v. TXU Corp.,
   No. 3:02-CV-2243-K, 2005 U.S. Dist. LEXIS 27077
   (N.D. Tex. Nov. 8, 2005) ...................................................................................................10, 14

Streber v. Hunter,
    221 F.3d 701 (5th Cir. 2000) ...................................................................................................11

United States v. Tex. Educ. Agency,
   679 F.2d 1104 (5th Cir. 1982) ...............................................................................................5, 9

Williams v. First Nat’l Bank,
   216 U.S. 582 (1910) ...................................................................................................................5

Young v. Katz,
   447 F.2d 431 (5th Cir. 1971) .....................................................................................................9




                                                                 - iii -
950503_2.
                                                                                                                                         Page


STATUTES, RULES AND REGULATIONS

15 U.S.C.
   §77k..............................................................................................................................13, 15, 16
   §77l(a)(2) .................................................................................................................................13
   §77z-1(a)(3)(B) ..........................................................................................................................3

Federal Rules of Civil Procedure
   Rule 23(e)(2) ..............................................................................................................................5




                                                                    - iv -
950503_2.
I.          INTRODUCTION

            The proposed Settlement of this Litigation provides for the payment of $10,200,000 in cash,

which amount has been fully funded, in exchange for the dismissal of all claims brought against the

Defendants.1 The proposed Settlement provides the Settlement Class with a substantial recovery,

representing almost 30% of Lead Plaintiff’s expert’s estimate of the Settlement Class’ maximum

viable damages (and $10.2 million more than Defendants’ estimate of damages, which was $0).2

            In addition to recovering a significant portion of the Settlement Class’ damages, the proposed

Settlement avoids the hurdles Plaintiffs would have to clear with respect to Defendants’ defenses and

avoids the significant costs associated with proceeding to trial in this complex securities action. The

Settlement also avoids the real risk of obtaining less, or nothing at all, from Defendants after an

unsuccessful trial and/or appeal.

            Lead Counsel are experienced in prosecuting securities class actions and have concluded that

the Settlement is a favorable result and is in the best interest of the Settlement Class. This

conclusion is based on the circumstances present here, including the substantial risks, expense and

uncertainties in continuing this Litigation through the pre-trial proceedings, the completion of

discovery, summary judgment and Daubert motions, trial and any potential appeal(s), the relative

strengths and weaknesses of the claims and defenses asserted, a complete analysis of the legal and

factual issues presented, past experience in litigating and taking similar complex actions to trial, the


1
    All capitalized terms used herein have the same meanings as in the Stipulation of Settlement,
dated as of April 28, 2014 (“Stipulation”). Dkt. No. 149. All exhibits referenced herein are
compiled in the Appendix in Support of Final Approval of Class Action Settlement and Plan of
Allocation of Settlement Proceeds and an Award of Attorneys’ Fees and Expenses (“Appendix”),
filed concurrently herewith. In addition, all emphasis is added and all citations are omitted unless
otherwise indicated.
2
    See Declaration of X. Jay Alvarez in Support of Final Approval of Class Action Settlement, Plan
of Allocation of Settlement Proceeds, and an Award of Attorneys’ Fees and Expenses (“Alvarez
Decl.”), ¶¶8, 62, 95, 98. Appendix at 7, 26, 32, 33.

                                                    -1-
950503_2.
serious disputes between the parties concerning the merits and damages, as well as the practical

obstacles in obtaining a better result for the Settlement Class. In light of the foregoing, an extensive

analysis of the evidence, the relative strengths and weaknesses of the claims and defenses asserted,

the serious issues and disputes remaining among the parties, and the time and expense of trial,

Plaintiffs and Lead Counsel have concluded that the Settlement is fair, reasonable and adequate, and

in the best interests of the Settlement Class.3

            For all the reasons discussed herein and in the accompanying Alvarez Declaration, Plaintiffs

respectfully request that the Court enter an order determining that the Settlement is fair, reasonable,

and adequate to the Settlement Class, and granting final approval of the Settlement and entering the

Judgment as provided in ¶1.11 of the Stipulation. Moreover, the plan for allocating the settlement

proceeds will fairly and equitably distribute the Net Settlement Fund among the Authorized

Claimants and also warrants the Court’s final approval.

II.         BACKGROUND AND SUMMARY OF THE LITIGATION4

            On January 10, 2012, a class action complaint alleging violations of the Securities Act of

1933 on behalf of purchasers of Kosmos common stock pursuant and/or traceable to the May 2011

initial public offering of Kosmos common stock (the “IPO”) was filed. On February 6, 2012, the

action was removed to the United States District Court for the Northern District of Texas. On July

17, 2012, George M. Mounger filed a similar class action complaint in this Court. The complaints

filed in this action, including the complaint filed by Mounger, were ordered consolidated by the

Court.




3
  See Declaration of James Flynn; Declaration of Suzanne Saville; Declaration of George M.
Mounger. Appendix at 151-164.
4
      A detailed recitation of the history of the Litigation is contained in the Alvarez Declaration.

                                                    -2-
950503_2.
            On November 1, 2012, pursuant to the Private Securities Litigation Reform Act of 1995

(“PSLRA”), 15 U.S.C. §77z-1(a)(3)(B), the Court appointed the Nursing Homes and Related

Industries Pension Plan as Lead Plaintiff and approved its selection of Robbins Geller Rudman &

Dowd LLP (“Robbins Geller”) as Lead Counsel. On December 10, 2012, Lead Plaintiff filed the

Consolidated Complaint.

            Thereafter, on January 22, 2013, Defendants filed their motions to dismiss the Consolidated

Complaint. Lead Plaintiff filed its oppositions to the motions to dismiss on February 21, 2013 and

Defendants filed their replies on March 13, 2013. On June 24, 2013, the Court issued an order

granting, in part, and denying, in part, Defendants’ motions to dismiss and dismissing from the case

certain other parties named as defendants in the Litigation.

            On July 24, 2013, the Court entered a Scheduling Order providing deadlines for the

prosecution of the Litigation, including, among other things, the hearing on class certification

(December 11, 2013) and trial (February 9, 2015). On August 1, 2013, Defendants filed their

answers to the Consolidated Complaint.

            On August 23, 2013, Lead Plaintiff served its First Request for Production of Documents on

Defendant Kosmos and the Individual Defendants. On August 30, 2013, Lead Plaintiff served its

First Request for Production of Documents on the Underwriter Defendants. On September 19, 2013,

Defendants served their First Request for Production of Documents on Lead Plaintiff. Thereafter,

following negotiations concerning the scope of discovery, Kosmos, the Individual Defendants, the

Underwriter Defendants and Lead Plaintiff produced significant discovery.

            On September 11, 2013, the Court appointed former U.S. District Judge Layn Phillips as the

mediator for the Litigation.

            On October 3, 2013, Lead Plaintiff filed its motion for class certification, seeking to certify a

class consisting of:

                                                      -3-
950503_2.
            All persons and entities who purchased or otherwise acquired Kosmos Energy Ltd.
            common stock issued pursuant to or traceable to Kosmos’s initial public offering
            (“IPO”) Registration Statement and Prospectus that became effective on May 10,
            2011 and who were damaged thereby (the “Class”). Excluded from the Class are
            Kosmos, the Individual Defendants and the Underwriter Defendants, such entities’
            successors and assigns, the directors and officers of such entities at all relevant times,
            as well as the members of such persons’ immediate families and their legal
            representatives, heirs, successors or assigns, and any entity in which any excluded
            party has or had a controlling interest.

Dkt. No. 119 at 1 (footnote omitted).

            On November 18, 2013, Defendants filed their opposition to the motion for class

certification. Lead Plaintiff filed its reply in further support of its motion for class certification on

November 27, 2013. On December 11, 2013, the Court held a hearing on the motion for class

certification.

            On January 27, 2014, Lead Plaintiff served its First Set of Interrogatories to the Underwriter

Defendants. On February 26, 2014, the Underwriter Defendants served their Responses and

Objections to Plaintiff’s First Set of Interrogatories to the Underwriter Defendants.

            On February 27, 2014, the parties participated in a mediation session with the Court-

appointed mediator. Thereafter, the parties continued settlement discussions. On March 10, 2014,

the mediator informed the Court that he believed the case could be resolved through mediation. On

March 19, 2014, the Court issued a Memorandum Opinion and Order denying Lead Plaintiff’s

motion for class certification. On April 1, 2014, Lead Plaintiff filed a motion for reconsideration of

that Order.

            Thereafter, as reflected in the Stipulation, the Settling Parties reached an agreement to settle

the Litigation, and Plaintiffs filed their motion for preliminary approval of the Settlement. Dkt. No.

149. On May 5, 2014, this Court entered an Order Preliminarily Approving Settlement and

Providing for Notice. Dkt. No. 151.



                                                      -4-
950503_2.
III.        STANDARDS FOR FINAL APPROVAL OF CLASS ACTION SETTLEMENT

            Pursuant to Rule 23(e)(2), a class action settlement must be “fair, reasonable, and adequate.”

Fed. R. Civ. P. 23(e)(2). In the Fifth Circuit, the following factors are analyzed in determining

whether this standard is met:

            (1) evidence that the settlement was obtained by fraud or collusion; (2) the
            complexity, expense, and likely duration of the litigation; (3) the stage of the
            litigation and available discovery; (4) the probability of plaintiffs’ prevailing on the
            merits; (5) the range of possible recovery and certainty of damages; and (6) the
            opinions of class counsel, class representatives, and absent class members.

Newby v. Enron Corp., 394 F.3d 296, 301 (5th Cir. 2004) (affirming district court’s approval of

partial settlement). As set forth herein and detailed in the Alvarez Declaration, the Settlement is a

favorable result for the Settlement Class and satisfies the factors employed by the Fifth Circuit in

evaluating whether a settlement is fair, reasonable and adequate.

IV.         THE COURT SHOULD GRANT FINAL APPROVAL OF THE SETTLEMENT

            “Compromises of disputed claims are favored by the courts . . . .” Williams v. First Nat’l

Bank, 216 U.S. 582, 595 (1910). Indeed, “litigants should be encouraged to determine their

respective rights between themselves.” Cotton v. Hinton, 559 F.2d 1326, 1330-31 (5th Cir. 1977).

“Particularly in class action suits, there is an overriding public interest in favor of settlement.” Id. at

1331. Settlements “‘will be upheld whenever possible because they are a means of amicably

resolving doubts and preventing lawsuits.’” Miller v. Republic Nat’l Life Ins. Co., 559 F.2d 426, 428

(5th Cir. 1977).

            In addition, courts have found a strong initial presumption of fairness attaches to a proposed

settlement if the settlement is reached by experienced counsel after arm’s-length negotiations. See

United States v. Tex. Educ. Agency, 679 F.2d 1104, 1108 (5th Cir. 1982); see also In re

PaineWebber Ltd. P’ships Litig., 171 F.R.D. 104, 125 (S.D.N.Y. 1997) (“So long as the integrity of

the arm’s length negotiation process is preserved . . . a strong initial presumption of fairness attaches

                                                     -5-
950503_2.
to the proposed settlement . . . .”), aff’d, 117 F.3d 721 (2d Cir. 1997). To a large degree, in

determining the fairness and reasonableness of a proposed settlement, courts must rely on the

judgment of competent counsel, terming such counsel the “linchpin” of an adequate settlement.

Reed v. Gen. Motors Corp., 703 F.2d 170, 175 (5th Cir. 1983) (“[T]he value of the assessment of

able counsel negotiating at arm’s length cannot be gainsaid. Lawyers know their strengths and they

know where the bones are buried.”). Thus, if experienced counsel determine that a settlement is in

the class’ best interests, “the attorney’s views must be accorded great weight.” Pettway v. Am. Cast

Iron Pipe Co., 576 F.2d 1157, 1216 (5th Cir. 1978).

            Here, the Settlement was reached by experienced, fully-informed counsel after extensive

investigation and substantial formal discovery was conducted, after motions to dismiss and a motion

for class certification were briefed and argued, and hard-fought settlement negotiations under the

auspices of an experienced mediator occurred. Thus, this Settlement is entitled to the presumption of

fairness dictated by Fifth Circuit law.

            A.     The Settlement Was Obtained Without Fraud or Collusion

            One factor courts in this Circuit consider when deciding to grant approval to a settlement is

whether “the settlement was obtained by fraud or collusion.” Newby, 394 F.3d at 301. Here, there

are multiple indicia that the settlement negotiations in this case have been fair, honest and at arm’s

length.

            As detailed in the Alvarez Declaration, the parties engaged in hard-fought arm’s-length

negotiations, which included numerous telephone conferences and a full-day formal mediation with

the assistance of an experienced mediator followed by two months of negotiating the terms of the

Settlement and related documents. Alvarez Decl., ¶¶4, 67-75. Appendix at 5-6, 27-29. At all times

during the settlement negotiations, both sides zealously advocated their respective positions. Indeed,

the mediator has confirmed that the settlement “negotiations that led to the proposed settlement

                                                    -6-
950503_2.
currently before this Court were hard fought on all sides” and “were conducted at arm’s length,

carefully, and in good faith by all parties.”5 Furthermore, the “mediation process involved extensive

analysis of the parties’ positions, including the merits of the Plan’s claims, this Court’s orders on

defendants’ motions to dismiss, and defendants’ potential defenses.” Preliminary Approval

Appendix Tab 1 at 8. In addition, the mediator has opined that the “parties’ lawyers were current

and well-informed on the law,” that “both counsel and the parties had done considerable work to

prepare this case for mediation,” and “that defendants had produced substantial confidential

information which enabled the Plan and its counsel to assess the case.” Id.; see also McNamara v.

Bre-X Minerals Ltd., 214 F.R.D. 424, 430-31 (E.D. Tex. 2002) (granting approval where

“[s]ettlement was reached by knowledgeable counsel, and it was arrived at after much negotiation as

is evidenced by the time it took the parties to reach an agreement”).

            Where, as here, the settlement resulted from arm’s-length negotiations between experienced

counsel after significant document production had occurred, there is “no obvious deficiency that

would preclude a finding that the settlement is fair.” In re OCA, Inc., No. 05-2165, 2008 U.S. Dist.

LEXIS 84869, at *38 (E.D. La. Oct. 17, 2008); Cotton, 559 F.2d at 1330 (“Indeed, the trial judge,

absent fraud, collusion, or the like, should be hesitant to substitute its own judgment for that of

counsel.”).

            This factor supports final approval of the Settlement.

            B.     The Complexity, Expense and Likely Duration of the Litigation
                   Support Final Approval of the Settlement

            Another factor courts consider when approving of a settlement is the “complexity, expense,

and likely duration of the litigation.” Newby, 394 F.3d at 301. As the Fifth Circuit has recognized,

5
    See Declaration of the Honorable Layn R. Phillips attached as Tab 1 to the Appendix of
Declarations in Support of Plaintiffs’ Memorandum of Law in Support of Joint Motion for
Preliminary Approval of Class Action Settlement (“Preliminary Approval Appendix”) at 7-8 (Dkt.
No. 148).

                                                   -7-
950503_2.
“it is prudent to eliminate the risks of litigation to achieve specific certainty though admittedly it

might be considerably less (or more) than were the case fought to the bitter end.” Fla. Trailer &

Equip. Co. v. Deal, 284 F.2d 567, 573 (5th Cir. 1960). Settlement avoids the risks and burdens of

potentially protracted litigation, avoids further costs of litigation and provides relief for the class

sooner than further litigation would.

            Here, several factors exist which make it more likely that, without the proposed Settlement,

this case would require additional large expenditures of time and money and there would be a

significant risk that the Settlement Class would obtain a result far less beneficial than the one

provided by the Settlement. The factors include the following:

                   (a)     Defendants are represented by some of the most accomplished counsel in the

country who are well versed in complex securities class actions such as this;

                   (b)     Defendants have consistently and vigorously denied liability and asserted

facially reasonable explanations in response to Plaintiffs’ allegations;

                   (c)     When the parties reached an agreement to settle the Litigation, Lead

Plaintiff’s motion for reconsideration of the class certification order was pending. Without the

proposed Settlement, Lead Plaintiff or Defendants would likely have pursued all available challenges

to the order regardless of the outcome of the reconsideration motion, including an appeal to the Fifth

Circuit, which would have assuredly led to delay and increased the time and expense of the

Litigation (see Preliminary Approval Appendix Tab 1 at 8-9);

                   (d)     Pre-trial litigation would have likely necessitated substantial contested

discovery motion practice as well as summary judgment and evidentiary motions (including Daubert

motions) involving the significant expenditure of time and expense;

                   (e)     A trial would necessarily involve hundreds of exhibits and testimony

regarding complex factual issues resulting in a foreseeable battle of the experts on dry petroleum

                                                    -8-
950503_2.
exploration, engineering and production issues and resulting financial matters, the outcome of which

is by no means certain; and

                   (f)     Post-trial appeals involving lengthy and detailed analysis of nuanced legal

and factual issues that, depending on the outcome of the appeals, could require remand to the district

court for re-trial on any number of issues. See Alvarez Decl., ¶¶86-88. Appendix at 32-33.

            The “very purpose of the compromise is to avoid the delay and expense of such a trial.”

Young v. Katz, 447 F.2d 431, 433 (5th Cir. 1971). As such, this factor supports final approval of the

Settlement.

            C.     The Stage of the Litigation Supports Approval of the Settlement

            “[N]ormally a settlement is ‘a process of compromise in which, “in exchange for the saving

of cost and elimination of risk, the parties each give up something they might have won had they

proceeded with the litigation.”’” Tex. Educ. Agency, 679 F.2d at 1108. Here, even though the Court

largely denied Defendants’ motions to dismiss, “that ruling provides no guarantee that [plaintiffs]

will ultimately prevail on the merits.” McNeely v. Nat’l Mobile Health Care, LLC, No. CIV-07-933-

M, 2008 U.S. Dist. LEXIS 86741, at *36 (W.D. Okla. Oct. 27, 2008). Indeed, despite that initial

ruling, Defendants have strenuously and vigorously argued throughout the Litigation that the

Settlement Class’ claims lacked merit and the Settlement Class did not suffer any damages tethered

to Defendants’ alleged misconduct. See, e.g., Dkt. Nos. 113, 114, 123, 124.

            There can be no question that at the time the Settlement was reached, Lead Counsel had an

advanced knowledge and understanding of the merits of the claims alleged in the Litigation and the

defenses that would be asserted by Defendants to determine that the Settlement is fair, reasonable

and adequate. See In re OCA, Inc. Sec. & Derivative Litig., No. 05-2165 SECTION R(3), 2009 U.S.

Dist. LEXIS 19210, at *39-*40 (E.D. La. Mar. 2, 2009) (“The question is not whether the parties

have completed a particular amount of discovery, but whether the parties have obtained sufficient

                                                   -9-
950503_2.
information about the strengths and weaknesses of their respective cases to make a reasoned

judgment about the desirability of settling the case on the terms proposed or continuing to litigate

it.”); Schwartz v. TXU Corp., No. 3:02-CV-2243-K, 2005 U.S. Dist. LEXIS 27077, at *67-*68 (N.D.

Tex. Nov. 8, 2005) (Kinkeade, J.).

            Lead Counsel obtained their knowledge through, among other things, investigating the facts

underlying Kosmos’ complex operations and its financial position; conducting or overseeing detailed

investigative interviews of several witnesses, including former Kosmos employees; successfully

opposing, in substantial part, Defendants’ motions to dismiss the Consolidated Complaint;

conducting fact discovery, including the review and analysis of more than 480,000 pages of

documents produced by Defendants; responding to discovery requests propounded by Defendants;

litigating Lead Plaintiff’s motion for class certification; consulting with experts in petroleum

exploration, engineering and production and the damages suffered by the Settlement Class; and

engaging in a lengthy mediation and negotiation process, assisted by Judge Phillips. Alvarez Decl.,

¶89. Appendix at 33.

            The knowledge and insight gained by Lead Counsel over the course of this Litigation

provided them with sufficient information to evaluate the strengths and weaknesses of the Settlement

Class’ claims and Defendants’ defenses, as well as the likelihood of obtaining a larger recovery from

Defendants had the Litigation continued to trial, and guided Lead Counsel in their recommendation

of the Settlement to Plaintiffs. Id.

            Accordingly, this factor also supports final approval.

            D.     The Probability of Plaintiffs’ Prevailing on the Merits Supports Final
                   Approval

            While Lead Counsel believes the Settlement Class’ claims are sufficiently strong enough to

prevail on the merits at trial, Lead Counsel and Plaintiffs recognize that, if the Litigation continued,

there is a real risk that Plaintiffs might fail to convince the jury of the merits of its case, the
                                                - 10 -
950503_2.
Defendants could obtain judgment in their favor, and the Settlement Class could recover nothing.

See generally Preliminary Approval Appendix Tab 1 at 8 (stating that “the Plan would face a

substantial risk that a jury would award less in damages as detailed in the Hubbard Report, if the jury

made an award to the Plan at all”).

            Defendants argued that any misstatement concerning Kosmos’ Jubilee oil production was

immaterial when compared to Kosmos’ overall business and other assets, Alvarez Decl., ¶93

(Appendix at 35), or that even if any of the alleged misstatements were inaccurate, the extent of such

inaccuracy was immaterial. Id. Should any of these arguments have succeeded, Plaintiffs would

have been unable to prove a required element of their claim, dooming the case.

            Even if Plaintiffs succeeded in overcoming each and every defense Defendants could raise

with respect to liability, Plaintiffs also would be required to make certain showings concerning

causation and damages. Although Plaintiffs would present expert testimony on these issues, one

cannot predict how a jury will weigh competitive experts’ testimony, and the crucial element of

damages would likely be reduced at trial to a “battle of the experts.” Lead Counsel have sufficient

experience to recognize that in such a battle there exists the substantial possibility that a trier of fact

could be swayed by Defendants’ experts, who would seek to minimize or eliminate the amount of

Plaintiffs’ losses by showing that any losses were attributable to factors other than the alleged

misstatements or omissions. See Streber v. Hunter, 221 F.3d 701, 726 (5th Cir. 2000) (stating jury

can believe whichever expert it finds more credible); OCA, 2009 U.S. Dist. LEXIS 19210, at *47-

*48 (“Because the jury would have been faced with competing expert opinions, the resulting damage

award would have been highly unpredictable.”).

            Even if the Settlement Class recovered a judgment after trial that was larger than the amount

of the Settlement, given the time value of money, any such future recovery might not be more

beneficial than receiving the benefits of the proposed Settlement now. Preliminary Approval

                                                   - 11 -
950503_2.
Appendix Tab 1 at 8-9 (stating that “the settlement, if approved, allows the settlement class to

receive certain money without being exposed to the risks, costs, or delays of trial and appeal”).

Moreover, any judgment after trial would still be subject to the continuing risks and vicissitudes of

litigation through likely appeals. Experience shows that even very large judgments, recovered after

lengthy litigation and trial, can be completely lost on appeal.6

            And, even if the verdict was in Lead Plaintiff’s favor, and was not overturned, post-trial

collection efforts could take many more years of litigation. For example, in Lawrence E. Jaffe

Pension Plan v. Household Int’l, Inc., No. 02-C-5893 (N.D. Ill.), on May 7, 2009, the jury returned a

verdict in plaintiff’s favor on liability after seven years of hard-fought litigation. Five years later, the

parties are still litigating the judgment in the Seventh Circuit Court of Appeals. Over a decade after

the complaint was originally filed, and despite Robbins Geller obtaining a favorable jury verdict on

liability and having judgment entered, not a single class member has received a penny. In short, the

ultimate resolution of this action on the merits (and in turn, compensation to injured Settlement Class

Members) via trial and appeal is indefinite at best.

            Accordingly, the “tenuous legal and factual posture weighs heavily in favor of approving the

present settlement.” Salinas v. Roadway Express, Inc., 802 F.2d 787, 790 (5th Cir. 1986).




6
    Indeed, a district court in a securities class action case overturned a jury verdict in plaintiffs’
favor on loss causation grounds. See In re Apollo Grp., Inc. Sec. Litig., No. CV 04-2147-PHX-JAT,
2008 U.S. Dist. LEXIS 61995 (D. Ariz. Aug. 4, 2008). While the plaintiffs ultimately prevailed on
appeal to the Ninth Circuit, see In re Apollo Grp., Inc. Sec. Litig., No. 08-16971, 2010 U.S. App.
LEXIS 14478 (9th Cir. June 23, 2010), this case illustrates the inherent uncertainties facing both
plaintiffs and defendants at every stage of litigation. See also In re BankAtlantic Bancorp, Inc. Sec.
Litig., No. 07-61542-CIV-UNGARO, 2011 U.S. Dist. LEXIS 48057 (S.D. Fla. Apr. 25, 2011)
(reversing jury verdict in plaintiff’s favor and granting defendants’ post-trial motion for judgment as
a matter of law), aff’d sub nom. Hubbard v. BankAtlantic Bancorp, Inc., 688 F.3d 713 (11th Cir.
2012).

                                                   - 12 -
950503_2.
            E.     The Range of Possible Recovery and Certainty of Damages Supports
                   Final Approval

            A “proper evaluation of a proposed settlement agreement should include an estimate of the

range of possible monetary recovery on the claims being compromised.” Maher v. Zapata Corp.,

714 F.2d 436, 461 (5th Cir. 1983). “‘The fact that a proposed settlement may only amount to a

fraction of the potential recovery does not, in and of itself, mean that the proposed settlement is

grossly inadequate and should be disapproved.’” Parker v. Anderson, 667 F.2d 1204, 1210 n.6 (5th

Cir. 1982). In fact, “‘there is no reason, at least in theory, why a satisfactory settlement could not

amount to a hundredth or even a thousandth part of a single percent of the potential recovery.’” Id.;

see also In re Enron Corp. Sec., 228 F.R.D. 541, 566 (S.D. Tex. 2005) (“The settlement at this point

would save great expense and would give the Plaintiffs hard cash, a bird in the hand.”).

            Here, Defendants strenuously argued that the potential recovery was $0 because “the class

suffered no damages.” See Dkt. No. 123 at 14. Defendants’ expert, Glenn Hubbard, opined that “the

disclosure of information about production issues at Jubilee Field following Kosmos’ IPO did not

cause any declines in Kosmos’ stock price during the Class Period.” Dkt. No. 124 at Appx. 000035.

As a result, he concluded that “there is no economic evidence that the members of the putative class

have been damaged as a result of the alleged misrepresentations and omissions Plaintiffs describe in

their complaint.” Id. Lead Plaintiff disagreed with Defendants’ assessment of the case, and has

estimated a realistic scenario for damages at trial at approximately $35 million.

            Moreover, as Professor Miller explains in his declaration, “the settlement reached in this

case, if approved, will exceed the median settlements in cases asserting §11 and §12(a)(2) claims,

since the proposed settlement represents an amount equal to approximately 300% of the median

Securities Act settlement[s] and an amount equal to approximately 200% of the median securities




                                                  - 13 -
950503_2.
class action settlements in the Fifth Circuit.”7 In addition, the $10.2 million settlement in this case

exceeds by more than 40% the median settlement in cases settling after a ruling on motion to dismiss

but before a ruling on motion for summary judgment. Securities Class Action Settlements – 2013

Review and Analysis (Cornerstone Research 2014).8

            While “[n]either side received all which it desired,” “[s]uch is the nature of compromise.”

Cotton, 559 F.2d at 1334. Appropriately viewed in this context, the amount of the proposed

Settlement supports preliminary approval. See OCA, 2008 U.S. Dist. LEXIS 84869, at *39 (finding

that “the $6.5 million settlement, although less than 20% of plaintiffs’ damage estimate of $32

million, appears to be within a reasonable range for approval”); see also Preliminary Approval

Appendix Tab 2 at 14-20.

            F.     The Opinions of Lead Counsel and Plaintiffs Support Final Approval

            “The Fifth Circuit has repeatedly stated that the opinion of class counsel should be accorded

great weight” when evaluating a proposed settlement. Klein v. O’Neal, Inc., 705 F. Supp. 2d 632,

649 (N.D. Tex. 2010) (Fitzwater, J.) (citing Pettway v. Am. Cast Iron Pipe Co., 576 F.2d 1157, 1216

(5th Cir. 1978)); Cotton, 559 F.2d at 1330 (“the trial court is entitled to rely upon the judgment of

experienced counsel for the parties”). Indeed, “where the parties have conducted an extensive

investigation, engaged in significant fact-finding and Lead Counsel is experienced in class-action

litigation, courts typically ‘defer to the judgment of experienced trial counsel who has evaluated the

strength of his case.’” Schwartz, 2005 U.S. Dist. LEXIS 27077, at *72.

            Here, Lead Counsel and Plaintiffs believe that this Settlement merits final approval. Given

that the Settlement provides a substantial recovery for the Settlement Class and given the risks in


7
    See Declaration of Arthur R. Miller in Support of Joint Motion for Preliminary Approval of
Settlement. Dkt. No. 148-2 at 16-17.
8
   See http://www.cornerstone.com/getattachment/e1800abc-dc50-4df3-b7a9-cf8ee3fea116/
Securities-Class-Action-Settlements%E2%80%942013-Review-an.aspx.
                                           - 14 -
950503_2.
litigating this action further, it is Lead Counsel’s opinion that it is possible that a better result might

not be obtained. The fact that Plaintiffs have also concluded that the proposed Settlement is a fair,

reasonable and adequate compromise of the claims against Defendants should be given considerable

weight.

            Therefore, Lead Counsel respectively submit that the analyses set forth above and all of the

circumstances of the Settlement demonstrate that the Settlement is fair, reasonable and adequate.

V.          THE PLAN FOR ALLOCATING THE SETTLEMENT PROCEEDS IS
            FAIR, REASONABLE AND ADEQUATE

            Lead Plaintiff also seeks the Court’s approval of the plan for allocating the settlement

proceeds as fair, reasonable and adequate. To obtain approval, the “allocation formula ‘need only

have a reasonable, rational basis, particularly if recommended by “experienced and competent” class

counsel.’” In re Dell Inc., Sec. Litig., No. A-06-CA-726-SS, 2010 U.S. Dist. LEXIS 58281, at *35-

*36 (W.D. Tex. June 11, 2010) (approving plan of allocation in securities class action settlement),

aff’d sub nom. Union Asset Mgmt. Holding A.G. v. Dell Inc., 669 F.3d 632 (5th Cir.), cert. denied,

___ U.S. ___, 133 S. Ct. 317 (2012). The Plan of Allocation in this case is fair, reasonable, rational

and recommended by competent counsel.

            Lead Counsel prepared the Plan of Allocation after careful consideration and analysis, and

without reference to any particular trading patterns of any of the Plaintiffs. Alvarez Decl., ¶¶76-83.

Appendix at 29-31. As Professor Feinstein explains, §11 sets forth the methodology for calculating

damages. See Declaration of Professor Steven P. Feinstein, Ph.D., CFA (“Feinstein Decl.”), ¶9.

Appendix at 167. And, to be fair, reasonable and adequate, a plan of allocation in a case asserting

§11 claims should employ this methodology. Id., ¶10. Appendix at 167. This is precisely what the

Plan of Allocation in this case does. Id., ¶11. Appendix at 168.

            First, the Plan of Allocation considers how many shares of Kosmos common stock issued

pursuant or traceable to the Company’s Registration Statement and Prospectus were acquired by a
                                             - 15 -
950503_2.
putative Settlement Class Member between May 10, 2011 through and including January 10, 2012.

See Notice of Pendency and Proposed Settlement of Class Action at 6 (Dkt. No. 149-2). Next, the

Plan of Allocation takes into account whether any of those shares were sold on or before January 10,

2012 or were retained at the close of trading on January 10, 2012 and/or sold after January 10, 2012.

Id. If the shares were sold on or before January 10, 2012, the claim per share is calculated as the

Purchase Price per share (not to exceed $18 per share, the IPO price) less the Sales Price per share.

Id. If, however, the shares were retained at the close of trading on January 10, 2012 and/or sold after

January 10, 2012, the claim per share is calculated as the Purchase Price per share (not to exceed $18

per share, the IPO price) less $14.21 (the closing price of Kosmos stock on the date the lawsuit was

filed). Id. at 7. This formula tracks the statutory formula precisely. See Feinstein Decl., ¶9.

Appendix at 167.

            Because the Plan of Allocation will distribute the proceeds of the Settlement amongst all

Settlement Class Members equally in a manner consistent with both the allegations in the

Consolidated Complaint and §11, this approach “is a reasonable one.” Dell, 2010 U.S. Dist. LEXIS

58281, at *36. Accordingly, the Plan of Allocation is fair, reasonable and adequate, and should be

approved.




                                                  - 16 -
950503_2.
VI.         CONCLUSION

            For the foregoing reasons, Plaintiff and Lead Counsel request that the Settlement and Plan of

Allocation are fair, reasonable and adequate, and that this Court should grant final approval of the

Settlement and the Plan of Allocation.

DATED: June 23, 2014                              Respectfully submitted,

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                                                   - 17 -
950503_2.
                                       CERTIFICATE OF SERVICE

            I hereby certify that on June 23, 2014, I authorized the electronic filing of the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such filing to the

e-mail addresses denoted on the attached Electronic Mail Notice List, and I hereby certify that I

caused to be mailed the foregoing document or paper via the United States Postal Service to the non-

CM/ECF participants indicated on the attached Manual Notice List.

            I certify under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on June 23, 2014.

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                                                     - 18 -
950503_2.
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